32 F.3d 562
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.James Ronald AUSTIN, Plaintiff Appellant,v.VIRGINIA PAROLE BOARD;  Jerry GOLDEN, Lieutenant;  F. C.Warren, Correctional Officer, Defendants Appellees.
    No. 94-6557.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  July 19, 1994Decided:  August 15, 1994.
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  Jackson L. Kiser, Chief District Judge.  (CA-93-307-R)
      James Ronald Austin, Appellant Pro Se.
      Alan Katz, OFFICE OF THE ATTORNEY GENERAL OF VIRGINIA, Richmond, Virginia, for Appellees.
      W.D.Va.
      AFFIRMED.
      Before HALL, LUTTIG, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Austin v. Virginia Parole Board, No. CA-93-307-R (W.D.Va. May 3, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    